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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
________________________________________________
                                                  }
STEVEN HOTZE, M.D., WENDELL CHAMPION,             }
HON. STEVE TOTH, AND SHARON HEMPHILL,             }
                                                  } Civil No.4:20-cv-03709
      Plaintiffs,                                 }
                                                  }
                  v.                              }
                                                  }
CHRIS HOLLINS, in his official capacity as Harris }
County Clerk,                                     }
                                                  }
      Defendant.                                  }
________________________________________________}

              AMICI CURIAE BRIEF OF 12 CITIES AND COUNTIES
               IN OPPOSITION TO PLAINTIFFS’ REQUEST FOR
                     EMERGENCY INJUNCTIVE RELIEF



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Dated: November 2, 2020
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         STATEMENT OF THE ISSUES TO BE RULED UPON BY THE COURT

       The issue before the Court is whether Plaintiffs are entitled, on the eve of Election Day, to

a preliminary injunction arising out of their state and federal law challenges to Harris County’s

utilization of drive-thru voting and, as a result, to disqualify more than 127,000 votes cast using

that method. “To be entitled to a preliminary injunction, the applicants must show (1) a substantial

likelihood that they will prevail on the merits, (2) a substantial threat that they will suffer

irreparable injury if the injunction is not granted, (3) their substantial injury outweighs the

threatened harm to the party whom they seek to enjoin, and (4) granting the preliminary injunction

will not disserve the public interest.” City of El Cenizo, Texas v. Texas, 890 F.3d 164, 176 (5th

Cir. 2018) (quoting Tex. Med. Providers Performing Abortion Servs. v. Lakey, 667 F.3d 570, 574

(5th Cir. 2012)).

                               INTERESTS OF AMICI CURIAE

       Amici are a collection of city and county governments across the United States. These

jurisdictions administer and/or facilitate federal, state, and local elections. Some amici run election

operations directly by, among other things, setting up polling locations and counting mail-in or

absentee ballots. Others facilitate local elections, protect public safety at polling locations, and

engage their communities through registration drives, voter outreach, and other efforts to ensure

that residents fulfill their civic duty to vote. Even in a federal election—and a national election,

such as this year—local governments play a central and indispensable part in its administration.

       The 2020 election year has proved to be one of the most challenging in recent memory. A

global pandemic has required election administrators to alter planning and adjust protocols. To

mitigate the health risks associated with contact outside of the home such as voting in person, some

amici have mailed ballots to all eligible voters, while others have encouraged voters—especially




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those with health risks or who are living with vulnerable family members—to use mail-in options

to cast their ballots. Other jurisdictions have expanded early voting days and hours during those

days; have added more early voting locations, including prominent places such as sports arenas;

and have provided more delivery locations for voters to turn in their ballots. In many situations,

efforts to mitigate public health risks have resulted in expanded access to the ballot and increased

opportunities for participation in the franchise.

       Beyond the COVID-19 pandemic, local jurisdictions have had to confront an erosion in

confidence in the United States Postal Service (“USPS” or “Postal Service”), due to the revelation

of compromising changes in policies over the summer. Public statements by Postmaster General

Louis DeJoy as well as communications to all 50 states and Washington, D.C., created

considerable concern about the mail system’s ability to handle all ballots in and around the

November election. Those concerns have come to fruition, as in spite of nationwide injunctions,

USPS delays have slowed receipt and return of ballots across the country. These additional

challenges have required local officials to refine plans as voter mindsets have moved from in-

person voting to mail-in ballots and back to in-person voting or other alternatives such as ballot

drop boxes or drive-thru voting. Local jurisdictions also have invested considerable resources in

promoting voting options and reinforcing confidence in the voting process.

       All amici have a vested interest in ensuring that elections are run effectively and fairly;

protecting the fundamental rights of their constituents; and fulfilling their statutory obligations to

run and support elections while complying with public health orders and recommendations. Amici

submit this brief to offer perspective based on their deep expertise in the administration of

elections, particularly in the current public health and logistical environment, and to emphatically




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support the ability of Harris County to protect votes already cast and to make voting accessible

and available to its entire voting populace.

                                  SUMMARY OF ARGUMENT

        Amici join Defendant Chris Hollins as well as the Proposed Intervenor-Defendants in their

arguments in opposition to Plaintiffs’ request for emergency injunctive relief. Amici write

separately to emphasize two points.

        First, the third and fourth factors of the preliminary injunction standard strongly counsel

against issuing emergency relief. These factors require that, even assuming Plaintiffs can show a

violation of the law and irreparable harm, the Court must exercise sound discretion by balancing

the relative harms to the parties as well as assessing the public interest at stake. See, e.g., Texas v.

United States, 328 F. Supp. 3d 662, 740–41 (S.D. Tex. 2018). As this Court noted in the DACA

challenges, “one cannot unscramble the egg,” id. at 742 (internal quotes omitted), which is equally

apt here. Approximately 127,000 voters used drive-thru voting in Harris County. On the actual eve

of Election Day, the burden on the County and its voters to overcome the invalidation of votes

already cast would be extraordinary. Judicial restraint as well as the equities in this case strongly

counsel against the issuance of any emergency relief for Plaintiffs.

        Second, Harris County’s utilization of drive-thru voting is consistent with longstanding

jurisprudence under the Equal Protection Clause of the Fourteenth Amendment. Well-established

precedent dictates that local jurisdictions in a state need not administer elections identically.

Rather, localities may employ variations in voting procedures based on population demographics,

density, and related factors to ensure their constituents’ access to the ballot. Indeed, several states,

as discussed below, allow for county-by-county variations in curbside voting and several others




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have promoted the use of drive-thru voting in certain locations. Enhancing voter access within the

permissible contours of state law does not give rise to constitutional violation.

                                            ARGUMENT

I.      THE BALANCE OF THE HARMS AND THE PUBLIC INTEREST
        STRONGLY DISFAVOR THE ISSUANCE OF A PRELIMINARY INJUNCTION

        The “extraordinary remedy” of a preliminary injunction is inappropriate in this case.

Texans for Free Enter. v. Tex. Ethics Comm’n, 732 F.3d 535, 536 (5th Cir. 2013). As Defendants

and Proposed Intervenor-Defendants argue, Plaintiffs plainly fail to show entitlement to a

preliminary injunction on the merits and as to their injury. See City of El Cenizo, Texas, 890 F.3d

at 176 (listing the four preliminary injunction factors). But just as important, and as amici argue

here, the equities underlying this challenge strongly counsel against emergency relief. These

equities are best illustrated by the third and fourth factors that guide the Court’s consideration of

a preliminary injunction: the harm to the other parties (balance of the equities) and to the public

interest.

        A.      The Harms to Harris County Will Far Outweigh Plaintiffs’ Asserted Injury

        Assuming arguendo that Plaintiffs’ “substantial injury” exists, it cannot outweigh the

enormous harm Harris County will face should the County’s drive-thru voting be enjoined prior

to Election Day. See, e.g., City of El Cenizo, Texas, 890 F.3d at 176 (requiring plaintiffs to establish

that “their substantial injury outweighs the threatened harm to the party whom they seek to enjoin”

in order to establish entitlement to a preliminary injunction). Harris County, like amici, has taken

a careful and considered approach to administering elections during this uncommon time. As the

COVID-19 pandemic has swept across the country, amici have taken necessary—and legal—steps

to protect the health of their communities as well as the fundamental right to vote of their

constituents. Like Harris County, they have done so with approval of their secretaries of state or


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similar elections officials, who have recognized the numerous challenges election administrators

are facing this year. 1 With this eleventh-hour request for emergency relief, Plaintiffs now seek to

undermine Harris County’s lawful efforts to make voting during a global pandemic easier and safer

for its constituents.

        Amici therefore urge this Court to reject Plaintiffs’ attempt to change rules of the game

hours before Election Day. The administrative burden of an injunction would be extraordinary,

and Plaintiffs waited too long to bring their request for emergency relief.

                1.      The Administrative Burden of an Injunction Weighs in Harris County’s
                        Favor

        Plaintiffs’ challenge seeks to alter election rules when the election is already underway and

at great harm to Harris County. We stand on the eve of Election Day. Plaintiffs filed their

“Complaint for Emergency Injunctive Relief” on October 28, 2020—six days before the General

Election and after some 127,000 voters have cast their ballot via drive-thru early voting. 2 Dkt. 1.

Should this Court invalidate all of these votes, with roughly 30 hours until the Election Day

deadline, the burden on the county to find, connect with, and facilitate the vote of all 127,000

voters would be extraordinary. Efforts to remedy disqualified votes by Harris County would be

incomplete given the timeframe and a substantial additional burden, given that it is simultaneously

standing up Election Day operations. The burden for the elections official to implement a remedy

would be compounded by the complexity. With fidelity to not count the disqualified votes, Harris



1
 See, e.g., Riley Vetterkind, State Elections Official: Democracy in the Park Doesn’t Appear to
Violate Law, Wisc. State. J. (Oct. 2, 2020), https://madison.com/wsj/news/local/govt-and-
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County officials would need to contact voters and make sure they are able to vote again by another

method despite systems set up to prevent double-voting.

       As amici can attest, election administration is no simple matter. Like amici, Harris County

has spent most of this year planning and implementing policies designed to engage voters and

ensure voter turnout during a time where there is “legitimate concern” about voting in person. 3

Harris County and amici then embarked on the massive public education campaigns required for

election administration. They have spent months explaining to voters the rules of the game, which,

with early voting, has been in progress for more than two weeks. Plaintiffs’ lawsuit threatens to

undo these careful efforts. The Court should decline their invitation.

               2.      Laches Considerations Weigh in Harris County’s Favor

       Second, Plaintiffs waited too long, and to the detriment of Harris County, to request the

emergency relief they now seek. “[A] party requesting a preliminary injunction must generally

show reasonable diligence”—“[t]hat is as true in election law cases as elsewhere.” Benisek v.

Lamone, 138 S. Ct. 1942, 1944 (2018) (citing Holmberg v. Armbrecht, 327 U.S. 392 (1946)). The

U.S. Supreme Court has therefore weighed a plaintiff’s delay in asking for a preliminary injunction

against his request in an elections case alleging a constitutional violation. Id. So, too, must this

Court conduct a laches-like inquiry and consider Plaintiffs’ delay.

       “Equity has acted on the principle that laches is not . . . a mere matter of time; but

principally a question of the inequity of permitting the claim to be enforced—an inequity founded

upon some change in the condition or relations of . . . the parties.” Holmberg, 327 U.S. at 396

(internal quotation marks omitted); see also Uptown Grill, L.L.C. v. Shwartz, 817 F.3d 251, 256



3
  Russell Berman, If You Can Grocery Shop in Person, You Can Vote in Person, The Atlantic
(Sept. 8, 2020), https://www.theatlantic.com/politics/archive/2020/09/voting-during-pandemic-
pretty-safe/616084 (last visited Nov. 2, 2020).

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(5th Cir. 2016) (holding that in order to establish laches, the defendant must show that the plaintiff

“delayed in asserting the rights at issue; that the delay is inexcusable; and that the [defendant]

parties have suffered undue prejudice as a result of the delay”). In this case, Plaintiffs waited so

late to challenge Defendant’s implementation of drive-thru voting that the condition of Harris

County, its constituents, and its voting apparatus is now significantly changed. Harris County first

announced it was considering offering drive-thru voting on June 15, 2020. 4 On August 25, 2020,

the Harris County Commissioners Court unanimously approved the list of early voting locations,

including the drive-thru locations. 5 On October 13, 2020, early voting in Harris County began, and

it concluded last Friday, on October 30, 2020. 6 Yet, Plaintiffs waited until October 28, 2020 to file

their “Complaint for Emergency Injunctive Relief.” Dkt. 1. As a result, they waited until at least

tens of thousands of votes already had been cast in this manner.

        Plaintiffs have not attempted to explain their delay, and, indeed, their delay is inexcusable.

It is crucially important for election administrators like Harris County and amici to have timely

clarity as to what is allowed and to have sufficient time to explain it to the public. Plaintiffs’ failure

to bring their claims with reasonable diligence has prejudiced Harris County by injecting public

confusion and distrust of their administration of the election and by raising the specter of voter



4
  Shawn Arrajj, Harris County Releases Details on Voting Precautions for July Runoffs,
Community Impact Newspaper (June 15, 2020), https://communityimpact.com/houston/cy-
fair/vote/2020/06/15/harris-county-releases-details-on-voting-precautions-for-july-runoffs (last
visited Nov. 2, 2020).
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  Zach Despart, Harris County OKs $17 Million to Add Polls, Voting Hours and Drive-Thru Voting
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  November 3, 2020 General and Special Elections Early Voting Schedule, Harris County,
https://www.harrisvotes.com/Docs/EarlyVotingPDFMaps/Early_Voting%20Schedule_Novembe
r_2020.pdf (last visited Nov. 2, 2020).


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disenfranchisement after ballots have been cast. Plaintiffs have sat on their alleged rights until the

stroke of midnight. It is they, rather than the local government that administers the election, who

should live with the consequences.

          B.     The Public Interest Heavily Weighs Against Issuance of an Injunction

          The great disservice that would be done to the public interest if emergency relief was

granted also strongly cautions against the use of this powerful remedy. See City of El Cenizo,

Texas, 890 F.3d at 176. First, in the midst of a global pandemic, voters need more options than in-

person voting, not fewer. Second, enjoining use of drive-thru voting in Harris County, after the

Secretary of State and Harris County’s elected officials approved it, would erode public trust in

the administration of elections. Third, thousands of electors have already cast their ballots via

drive-thru voting, and the potential effects of invalidating this practice range up to and include

disenfranchisement of these voters. These considerations overwhelmingly show that an injunction

would not serve the public interest.

                 1.     Public Health Considerations Weigh in Harris County’s Favor

          The COVID-19 pandemic has overshadowed much of the 2020 election cycle. COVID-19

is a deadly, easily transmittable disease that has infected more than 9.2 million Americans and

killed more than 230,900. 7 The United States is currently experiencing a third wave of these

infections, with weekly infection reports reaching record levels in more than half the country

during October. 8 This new reality has forced state and local governments everywhere to shrug off

traditional conventions on how to conduct elections and embrace new solutions for helping their

constituents exercise their fundamental right to vote.


7
   COVID in the U.S.: Latest Map and Case Count, N.Y. TIMES, https://www.nytimes.com
/interactive/2020/us/coronavirus-us-cases.html (last visited Nov. 2, 2020).
8
    Id.

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        While states often “play the primary decisionmaking role in election administration,” they

do so by “delegat[ing] or defer[ring] responsibility for decisions about the administration of

elections to other state or local officials and to voters.” 9 Local governments like Harris County and

amici have risen to meet this moment. They have done so by, for example, offering free public

transportation during early voting, 10 working with professional franchises to use outdoor stadiums

and indoor arenas as socially distanced early voting centers, 11 and encouraging high schoolers to

serve as poll workers. 12 Drive-thru voting is just another example of this lawful innovation, and it

is not unique to Harris County. Localities in Michigan, Utah, and Wisconsin have successfully

implemented drive-thru voting procedures for the 2020 general election. 13 Given the pandemic,

amici and other election administrators have made the choice to provide their voters with




9
  Karen Shanton, Cong. Research Serv., R45549, The State and Local Role in Election
Administration: Duties and Structures 3 (2019), https://fas.org/sgp/crs/misc/R45549.pdf (last
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  Katy Blakey, North Texas Election Officials Prepare for Record Voter Turnout, NBCDFW (Oct.
12, 2020), https://www.nbcdfw.com/news/politics/texas-politics/north-texas-election-officials-
prepare-for-record-voter-turnout/2459458/ (last visited Nov. 1, 2020).
11
  49ers, Santa Clara County To Turn Levi’s Stadium Into Voting Center For November Election,
KPIX5 CBS SF Bay Area (Sept. 29, 2020), https://sanfrancisco.cbslocal.com/2020/09/29/49ers-
santa-clara-county-to-turn-levis-stadium-into-voting-center-for-november-election/ (last visited
Nov. 2, 2020).
12
   Community Outreach, Placer County Elections Office, https://www.placerelections.com
/community-outreach/ (last visited Nov. 2, 2020).
13
       Wis.     Elections    Comm’n,        Curbside      or    Drive-Thru     Voting    (2020),
https://elections.wi.gov/node/6986 (last visited Nov. 2, 2020); Davis Cty., How & Where To Vote
(2020), https://www.daviscountyutah.gov/clerk-auditor/elections/how-where-to-vote (last visited
Nov. 2, 2020); Maureen Halliday, Drive-thru voting now available in Lansing, WILX10 (Oct. 28,
2020), https://www.wilx.com/2020/10/28/drive-thru-voting-site-now-available-in-lansing/ (last
visited Nov. 2, 2020).


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alternatives to in-person voting, as recommended by the Centers for Disease Control and

Prevention. 14 Their efforts should be supported, not thwarted.

                2.      Public Trust in Election Administration Weighs in Harris County’s Favor

        Last-minute challenges like Plaintiffs’—seeking to disqualify already cast ballots—erode

public trust in the administration of elections to the detriment of Harris County and amici. Local

governments around the country have worked hard to cultivate relationships with their

communities and implement voting policies that are responsive to their needs. The trust of their

constituents is a crucial prerequisite to local governments’ abilities to encourage residents to

exercise their civic duty during a global pandemic. This trust is undermined when voters watch

their local governments, with the approval of state elections officials, offer creative, convenient,

and safe voting options—only to be hauled into court in an attempt to invalidate those options on

the eve of Election Day. The effect is compounded when voters themselves already have used such

options and risk being disenfranchised after the fact. Maintaining the rules as they were when

voters cast their votes is critical to maintaining that public trust.

                3.      The Severely Limited Ability to Remedy Any Disqualified Votes Weighs in
                        Harris County’s Favor

        As noted, at least 127,000 voters have already cast ballots using Harris County’s drive-thru

option. If the Court concludes that Harris County must void these ballots, these voters risk being

disenfranchised. Even assuming their right to a new ballot is affirmed before Election Day, these

voters must somehow learn that they need to cast a new ballot and do so in a matter of hours. These

voters cast their ballots during Harris County’s early voting period, presumably in part because



14
   Polling Locations and Voters: Interim Guidance to Prevent Spread of Coronavirus Disease
2019 (COVID-19), Ctrs. For Disease Control & Prevention (Oct. 29, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-locations.html   (last
visited Nov. 2, 2020).

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they found it more convenient than voting on Election Day itself. A last-minute injunction of drive-

thru voting therefore risks permanent disenfranchisement of these voters. As a result, this case is

distinguishable from recent decisions out of Wisconsin and Minnesota, after which voters had a

number of days to cure the problem or cast a ballot in an unchallenged manner. See Democratic

Nat’l Comm. v. Wisconsin State Legislature, ___ U.S. ___, 2020 WL 6275871, at *11 (October

26, 2020) (Kavanaugh, J., concurring); Carson v. Simon, No. 20-3139, 2020 WL 6335967, at *8

(8th Cir. Oct. 29, 2020).

         In summary, the balance of the equities and the public interest each strongly weigh in

Defendant’s favor. Given that the exercise of the fundamental right to vote is at stake, the Court

could and should, on these bases alone, reject Plaintiffs’ request for emergency relief.

II.      HARRIS COUNTY’S DRIVE-THRU VOTING PROCEDURES ARE
         CONSISTENT WITH LONGSTANDING EQUAL PROTECTION PRINCIPLES

         Plaintiffs argue that Harris County violates the Equal Protection Clause of the Fourteenth

Amendment because offering drive-thru locations differs from the election procedures among

Texas counties. Dkt. 4 at 3. This argument misconstrues long-standing equal protection principles.

First, it is well-established that “counties may, consistent with equal protection, employ entirely

different election procedures and voting systems within a single state.” Donald J. Trump for

President, Inc. v. Boockvar, No. 2:20-cv-066, 2020 WL 5997680, at *44 (W.D. Pa. Oct. 10, 2020)

(collecting cases). Plaintiffs’ argument seeks to undermine this important principle of local

deference and instead seeks to turn district courts into pre-clearance bodies whenever slight

variations exist among counties. In any event, Plaintiffs also fail to demonstrate that drive-thru

voting creates differential treatment for purposes of an Equal Protection claim.




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           A. Differences Among Counties in Certain Election Procedures Do Not Constitute
              Violations of the Fourteenth Amendment

           Plaintiffs’ equal protection argument asks this Court to intervene, the day before an

election, based upon a supposed variation in voting procedures. This equal protection theory,

however, upsets the deference granted to local officials to employ election procedures tailored to

the unique needs of their communities. While states typically have responsibility for setting the

wide parameters within which elections should be administered, “the day-to-day implementation

of election administration policy is still mostly handled by localities.” 15 As such, local jurisdictions

generally maintain responsibility for adding eligible voters to voter rolls; designing and printing

ballots; recruiting and training poll workers; selecting and preparing polling places; storing and

transporting voting equipment; and counting, canvassing, and reporting election results. 16 To

execute these responsibilities, and to confront the unprecedented challenges of this election cycle,

cities and counties across the country have used their role as the closest, most accessible, and most

accountable form of government to support their electorates.

           Indeed, as discussed above, the approaches taken by localities across the country are as

varied as the localities themselves. In Dallas, officials have made public transportation free on

Election Day and early voting days, with the goal of encouraging voter turnout and satisfying early

voting demand. 17 Throughout Texas, many counties will track polling place wait times on their

websites. 18 Municipalities in Massachusetts have the flexibility to determine the locations of both



15
     See Shanton, supra n.9 at 7.
16
  Id.; see also U.S. Gov’t Accountability Office, GAO-18-294, Elections: Observations on Voting
Equipment Use and Replacement 9 (2018), https://www.gao.gov/assets/700/692024.pdf (last
visited Nov. 2, 2020).
17
     See Blakey, supra n.10.
18
     Id.


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early voting polling places and drop-box locations consistent with their electorate’s needs. 19 With

respect to curbside voting, counties in Colorado and California employ curbside voting procedures

on a county-by-county, discretionary basis. 20 In short, local governments have used, and will

continue to use, their on-the-ground understanding of communities’ needs to determine how best

to meet them when implementing election administration plans.

         Well-settled precedent overwhelmingly supports this local discretion to employ county-

specific election procedures, irrespective of other counties’ practices and consistent with equal

protection principles. See, e.g., Wexler v. Anderson, 452 F.3d 1226, 1231–33 (11th Cir. 2006)

(“Plaintiffs do not contend that equal protection requires a state to employ a single kind of voting

system throughout the state. Indeed, local variety in voting systems can be justified by concerns

about cost, the potential value of innovation, and so on.”) (internal quotation and alteration marks

omitted); Paher v. Cegavske, No. 20-243, 2020 WL 2748301, at *9 (D. Nev. May 27, 2020) (“[I]t

cannot be contested that Clark County, which contains most of Nevada’s population—and likewise

voters . . . —is differently situated than other counties. Acknowledging this as a matter of generally

known (or judicially noticeable) fact and commonsense makes it more than rational for Clark

County to provide additional accommodations to assist eligible voters.”). Indeed, Bush v. Gore,

531 U.S. 98, 109 (2000)—the only case Plaintiffs invoke in support of their equal protection

argument, Dkt. 4 at 10–11—explicitly clarifies that the question it considered was “not whether

local entities, in the exercise of their expertise, may develop different systems for implementing



19
     950 Mass. Code Regs. §§ 47.04, 47.10 (2020).
20
  Colo. Sec’y of State Elections Div., Health and Safety Guidance for the November 3, 2020
General        Election     9       (2020),       https://www.sos.state.co.us/pubs/elections/files
/COVID19guidance.pdf (last visited Nov. 2, 2020); Voters with Disabilities, Cal. Sec’y of State
(2020), https://www.sos.ca.gov/elections/voting-resources/voters-disabilities (last visited Nov. 2,
2020).


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elections.” Bush, 531 U.S. at 109; see also Ron Barber for Cong. v. Bennett, No. 14-2489, 2014

WL 6694451, at *5 (D. Ariz. Nov. 27, 2014) (“[Bush v. Gore] did not invalidate different county

systems regarding implementation of election procedures.”).

        Plaintiffs’ theory that Harris County must conform precisely to the election practices of

other counties, with entirely different demographics and needs, distorts equal protection principles

to inject district courts into an oversight role whenever slight variations occur. This is not what

settled law permits:

        [T]he appellants’ reading of the Supreme Court’s voting cases would essentially
        bar a state from implementing any pilot program to increase voter turnout. Under
        their theory, unless California foists a new system on all fifty-eight counties at once,
        it creates “unconstitutional vote-dilution” in counties that do not participate in the
        pilot plan. Nothing in the Constitution, the Supreme Court’s controlling precedent,
        or our case law suggests that we can micromanage a state’s election process to this
        degree.

Short v. Brown, 893 F.3d 671, 679 (9th Cir. 2018); see also Jackman v. Rosenbaum Co., 260 U.S.

22, 31 (1922) (explaining that equal protection does not require employing “mechanical

compartments of law all exactly alike”). For these reasons, Plaintiffs’ equal protection theory is

without basis and cannot justify the disqualification of Harris County’s drive-thru voting

procedures.

        B.     No Equal Protection Claim Can Be Substantiated Given the Functional
               Similarities Between Curbside Voting and Drive-Thru Voting

        In any event, Harris County’s drive-thru voting procedures do not constitute a variation

from other counties’ voting procedures such that it results in differential treatment for purposes of

an equal protection claim. Voters across the country and other parts of Texas can seek curbside

voting assistance, which often results in individuals voting in their cars. 21 As has been noted by


21
  See supra n.20; see also Tex. Elec. Code § 64.009(a) (providing for curbside voting);
Accessibility, Iowa Sec’y of State (2020) https://sos.iowa.gov/elections/voterinformation
/accessibility.html (last visited Nov. 2, 2020); Accessible Voting, Va. Dep’t of Elections (2019),

                                                  14
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Harris County, distinctions under Texas law exist between curbside voting—the process of

providing accommodations at existing polling places—and drive-thru voting—a different physical

layout of an in-person polling location, not a special accommodation for people with disabilities

who cannot physically enter polling places. Functionally, and from the voter’s experience, these

two voting methods can be quite alike. For example, drive-thru voters vote use the same portable

voting machines that county officials have used for years in accommodating curbside voters. 22 In

addition, drive-thru voters have similar experiences to in-person polling location voters. For

example, they are checked in at the polling location and subject to the same photo identification

requirements. In other words, drive-thru procedures build upon the principles underlying curbside

voting, including disability accommodation, but rely on the same procedures as in-person voting.

There is nothing new about any of these processes.

        Harris County has the ability to meet its voters’ needs through these variations, whether

voting inside the polling location is inaccessible or creates a “likelihood of injuring the voter’s

health,” Tex. Elec. Code § 64.009(a), or simply to make voting more convenient and available to

the general populace, see also id. at § 64.009(b) (allowing election officers to modify “regular

voting procedures” when “necessary to conduct voting under this section”); id at. § 85.062(b) (“A

polling place … may be located… at any place in the territory served by the early voting clerk and

may be located in any stationary structure.”). Accordingly, Plaintiffs fail to show that in employing




https://www.elections.virginia.gov/casting-a-ballot/accessible-voting/#curbside (last visited Nov.
2, 2020); The Americans with Disabilities Act and Other Federal Laws Protecting the Rights of
Voters with Disabilities, U.S. Dep’t of Justice Civil Rights Div. Disability Rights Section (Oct.
10, 2014), https://www.ada.gov/ada_voting/ada_voting_ta.htm (last visited Nov. 2, 2020).
22
    Drive Thru Voting, Harris Cty. Clerk Election Div. (2020), https://harrisvotes.com
/drivethruvoting (last visited Nov. 2, 2020); Bhre Berry, What you need to know about drive-thru
voting in Harris County, ABC13 (Oct. 16, 2020), https://abc13.com/drive-thru-voting-2020-
election-ways-to-vote-harris-county-locations/7074347/ (last visited Nov. 2, 2020).

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drive-thru voting, Harris County has created a constitutionally cognizable difference between its

voters and voters throughout Texas. See, e.g., Boockvar, 2020 WL 5997680, at *41 (“In the equal-

protection context . . . the plaintiff must present evidence that s/he has been treated differently

from persons who are similarly situated.”) (internal quotations omitted).




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                                       CONCLUSION

       For the foregoing reasons and for the reasons provided by Defendant Chris Hollins as well

as Proposed Defendant-Intervenors, the request for emergency injunctive relief should be denied.

                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 2, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which automatically serves notification of the filing

on counsel for all parties.

                                            /s/ Jessica N. Witte
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